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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ME2 PRODUCTIONS, INC.,                                          CIVIL ACTION
              Plaintiff,

                v.

ROSEANNA BERMUDEZ, CODY                                         NO. 17-1618
BOWDEN AND MARIA DUARTE,
             Defendants.

                                             ORDER

        AND NOW, this 30th day of November, 2017, upon consideration of Federal Rule of

Civil Procedure 21 and this Court’s recent opinion, UN4 Productions, Inc. v. John Does 1-15,

No. 17-2768, 2017 WL 5885779 (E.D. Pa. Nov. 29, 2017), this action is SEVERED and

Defendants Cody Bowden and Maria Duarte are DISMISSED WITHOUT PREJUDICE to

Plaintiff’s right to re-file individual actions against them.

                                                        BY THE COURT:


                                                        /s/Wendy Beetlestone, J.

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                                                        WENDY BEETLESTONE, J.
